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 BP-A0148                            INMATE REQUEST TO BUREAU EMPLOYEE
 DEC 23
U.S. DEPARTMENT OF JUSTICE                                               FEDERAL BUREAU OF PRISONS


  TO: (Name and Title of Employee)
                            • ~ook
                                                         DATE:   (   a
                                                         REGISTER NO.:
  rnoM: MGlhs°'-
 WORK ASSIGNMENT : ~ a t , . r



SUBJECT: (Briefly state your question or concern and the solution you are requesting.
Continue on back, if necessary.   Your failure to be specific may result in no action being
taken.   If necessary, you will be interviewed in order to successfully respond to your
request.
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                                              write below this line)


 DISPOSITION:




             Employee Signature



Record Copy - File; Copy - Inmate
PDF                                  Prescribed by PSSll




FILE IN SECTION 6 UNLESS APPROPRIATE FOR PRIVACY FOLDER                        SECTION 6
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                                                                          U.S. Department of Justice
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                        ff




                                                                                   Federal Detention Center
                                                                                   33 NE 4 th Stree t
                                                                                   Mi ami, Florida 33132


                                                                                   April 9, 2 025


  MEMORANDUM TO FILE


  FROM:                         ~G. Rodcig"oz, SIS U o " t o n a n ~


  SUBJECT:                      Inmate Notification - Parviz, Mahsa Reg. No . 54652-509



  This memorandum is to infonn you the SIS investigation into your allegations of sexual misconduct was
  completed on 4-03-2025         and found to be Unsubstantiated




                        Issuing Staff Signature             Date


                 Witness Staff Signature           Date
         (Only required if inmate refuses to sign)
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